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                                           February 4, 2019

 VIA ECF
 Hon. Christine M. Gravelle, U.S.B.J.
 U.S. Bankruptcy Court
 402 East State Street
 Trenton, N.J. 08608
 Courtroom #3

 RE:       American Center for Civil Justice, Inc.
           Case No. 1815691/CMG

 Dear Judge Gravelle:

 I have read the correspondence of Bob Tolchin expressing his frustration at the current status of
 this case. The fact remains that, although there are tentative non-binding arrangements with his
 clients and other creditors, Chapter 11 deals comprehensively with the claims of all creditors and
 at some point the claims of RLT and Joshua Ambush need to be resolved. This case is not just
 about who will control the Debtor.

 It was my hope to get to payday for the undisputed creditors sooner by moving ahead with
 confirmation and escrowing the amount of the disputed claims. Engelberg, whose only agenda is
 the hostile takeover of the Debtor, insists upon putting his desire for control ahead of creditor
 interests and we therefore, as Bob acknowledges, “changed tack” at the sole behest of Engelberg.

 With respect to the timing of my motion to enforce the subpoena served on the Engelbergs, that
 was filed on January 15 when there was no sense of urgency because the Scheduling Order of
 12/19 was still in effect and 2/13 was going to be utilized to resolve disclosure issues. I initially
 sent a subpoena to Engelberg’s counsel on September 18, 2018 (copy annexed as exhibit A)
 requesting the courtesy of reciprocating the cooperation I extended to them when I
 acknowledged service of their subpoenas. The favor was not returned. I oppose any immediate
 termination of discovery but do favor a new scheduling order which allows a little more time to
 prepare, with short deadlines to accommodate all discovery.
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 Mr. Casello and I need a response to my subpoena by production of documents that are relevant
 to the hearing on the RLT claim and the deposition of Michael Engelberg and any other witness
 he intends to call. Production of documents and deposition testimony relevant to other issues
 such as the Engelberg proof of claim, possible causes of action against him, and his plan, can be
 deferred until after the commencement of the hearing. Mr. Casello is relatively new to this case,
 and it was only recently that he became the permanent replacement for Bill Katchen and I cannot
 speak for him but I do not know how he could be completely up to speed yet.

 With respect to paying creditors, Bob Tolchin and I spoke to Stanley Sporkin’s counsel
 yesterday and the have promised to have their response to a proposed consent order we have both
 approved which provides for the turnover of the Clearstream monies. They will need to present
 their own order to the US District Court to obtain authorization to release the funds but that
 should be a formality as they do not anticipate any opposition. I intend to file a motion seeking
 an order authorizing the pre-confirmation partial payment of unsecured claims in anticipation of
 the availability of the Clearstream funds.


                                             Respectfully,

                                              __/s/_ Timothy P. Neumann
                                                     Timothy P. Neumann
